Case 9:19-cr-80056-RKA Document 10 Entered on FLSD Docket 04/08/2019 Page 1 of 2




                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                              CASE NO.     19-8100-WM


  UNITED STATES OF AMERICA,

          Plaintiff,

  vs.

  YUJING ZHANG,

        Defendant.
  ___________________________________/


                          NOTICE OF FILING EXHIBITS

          Defendant, Yujing Zhang, through undersigned counsel, files the attached

  Exhibits 1-7 admitted into evidence at her detention hearing held today, April 8,

  2019.

                                             Respectfully submitted,

                                             MICHAEL CARUSO
                                             FEDERAL PUBLIC DEFENDER

                                             By: s/Robert E. Adler
                                             Robert E. Adler
                                             Assistant Federal Public Defender
                                             Attorney for Defendant
                                             Florida Bar No. 259942
                                             450 S Australian Avenue, Suite 500
                                             West Palm Beach, Florida 33401
                                             (561) 833-6288 - Telephone
                                             robert_adler@fd.org - Email
Case 9:19-cr-80056-RKA Document 10 Entered on FLSD Docket 04/08/2019 Page 2 of 2




                             CERTIFICATE OF SERVICE

        I HEREBY certify that on April 8, 2019, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF.           I also certify that the

  foregoing document is being served this day on all counsel of record via transmission

  of Notices of Electronic Filing generated by CM/ECF or in some other authorized

  manner for those counsel or parties who are not authorized to receive electronically

  Notices of Electronic Filing.



                                         s/Robert E. Adler
                                         Robert E. Adler
